                                                              United States Bankruptcy Court
                                                               Northern District of Alabama
In re:                                                                                                                 Case No. 22-40440-JJR
Michael E Cross                                                                                                        Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1126-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Feb 15, 2024                                               Form ID: van002                                                           Total Noticed: 24
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 17, 2024:
Recip ID                 Recipient Name and Address
db                     + Michael E Cross, 3460 Gazaway Street, Gadsden, AL 35903-4844
sp                       Cherisse H. A. Cleofe, 8648 Wilshire Boulevard, Beverly Hills, CA 90211-2910
10865939               + A MED AMBULANCE SERV., P.O. BOX 100, Altoona, AL 35952-0100
10865940               + AMARABALAN RAJENDRAN MD, 3 CENTRAL PLAZA #353, Rome, GA 30161-3230
10865942               + CORAM INFUSION, 300 RIVERHILLS BUSINESS, STE 390, BIRMINGHAM, AL 35242-5037
10865943               + GADSDEN REGIONAL MEDICAL CENTER, 1007 GOODYEAR AVENUE, Gadsden, AL 35903-1100
10865947               + RUBIN LUBLIN, LLC, 100 CONCOURSE PARKWAY, STE 115, Birmingham, AL 35244-2905

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     + Email/Text: RASEBN@raslg.com
                                                                                        Feb 16 2024 00:09:00      US Bank Trust National Association, Not in Its
                                                                                                                  Ind, 10700 ABBOTTS BRIDGE RD, SUITE 170,
                                                                                                                  DULUTH, GA 30097-8461
10865936               + Email/Text: bankruptcy@bbandt.com
                                                                                        Feb 16 2024 00:10:00      BB&T/Truist, Attn: Bankruptcy, Po Box 1847,
                                                                                                                  Wilson, NC 27894-1847
10907939               + Email/Text: pasi_bankruptcy@chs.net
                                                                                        Feb 16 2024 00:09:00      Gadsden Regional Medical Center, C/O PASI,
                                                                                                                  P.O. Box 188, Brentwood, TN 37024-0188
10865938                  Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Feb 16 2024 00:10:00      IRS, P.O. BOX 7346, Philadelphia, PA
                                                                                                                  19101-7346
10865941                  Email/PDF: ais.chase.ebn@aisinfo.com
                                                                                        Feb 16 2024 00:47:46      Chase Card Services, Attn: Bankruptcy, P.O.
                                                                                                                  15298, Wilmington, DE 19850
10870592               + Email/Text: bankruptcydpt@mcmcg.com
                                                                                        Feb 16 2024 00:11:00      Midland Credit Management, Inc., PO Box 2037,
                                                                                                                  Warren, MI 48090-2037
10865944               + Email/Text: bankruptcydpt@mcmcg.com
                                                                                        Feb 16 2024 00:11:00      Midland Funding, LLC, Attn: Bankruptcy, Po Box
                                                                                                                  939069, San Diego, CA 92193-9069
10866386                  Email/PDF: USAALN.BNC@usdoj.gov
                                                                                        Feb 16 2024 00:20:13      Richard E. O'Neal, Assistant U.S. Attorney, 1801
                                                                                                                  4th Avenue North, Birmingham, AL 35203-2101
10894270                  Email/Text: bankruptcytn@wakeassoc.com
                                                                                        Feb 16 2024 00:10:00      SAPIENTES II, c/o Wakefield & Associates, LLC,
                                                                                                                  PO Box 51272, Knoxville, TN 37950-1272
10865945               + Email/Text: dsanders@alcardio.com
                                                                                        Feb 16 2024 00:09:00      SOUTHERN CARDIOVASCULAR, 1102
                                                                                                                  GOODYEAR AVENUE, Gadsden, AL
                                                                                                                  35903-2008
10865937               + Email/Text: mtgbk@shellpointmtg.com
                                                                                        Feb 16 2024 00:09:00      Shellpoint Mortgage Servicing, Attn: Bankruptcy,
                                                                                                                  Po Box 10826, Greenville, SC 29603-0826
10908078               + Email/Text: bankruptcy@bbandt.com
                                                                                        Feb 16 2024 00:10:00      Truist, PO Box 85092, Richmond, VA 23285-5092
10904789                  Email/Text: bankruptcy@unifund.com
                                                                                        Feb 16 2024 00:10:00      UNIFUND CCR, LLC, 10625 Techwood Circle,
                                                                                                                  Cincinnati, OH 45242




           Case 22-40440-JJR13 Doc 66 Filed 02/17/24 Entered 02/17/24 23:35:06                                                                   Desc
                              Imaged Certificate of Notice Page 1 of 3
District/off: 1126-1                                               User: admin                                                               Page 2 of 2
Date Rcvd: Feb 15, 2024                                            Form ID: van002                                                         Total Noticed: 24
10907927               + Email/Text: mtgbk@shellpointmtg.com
                                                                                    Feb 16 2024 00:09:00      US Bank Trust National Association, c/o NewRez
                                                                                                              LLC d/b/a, Shellpoint Mortgage Servicing, P.O.
                                                                                                              Box 10826, Greenville, SC 29603-0826
10866387               ^ MEBN
                                                                                    Feb 16 2024 00:08:52      United States Attorney General, U.S. Department
                                                                                                              of Justice, 950 Pennsylvania Avenue, NW,
                                                                                                              Washington, DC 20530-0001
10889532                 Email/PDF: ais.wellsfargo.ebn@aisinfo.com
                                                                                    Feb 16 2024 00:33:31      Wells Fargo Bank, N.A., PO Box 10438, MAC
                                                                                                              F8235-02F, Des Moines, IA 50306-0438
10865946               + Email/PDF: ais.wellsfargo.ebn@aisinfo.com
                                                                                    Feb 16 2024 00:47:48      Wells Fargo Jewelry Advantage, Attn:
                                                                                                              Bankruptcy, Po Box 10438, Des Moines, IA
                                                                                                              50306-0438

TOTAL: 17


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 17, 2024                                        Signature:            /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 15, 2024 at the address(es) listed
below:
Name                             Email Address
Alexa Stinson
                                 on behalf of Creditor US Bank Trust National Association Not in Its Individual Capacity but Solely as Owner Trustee for
                                 VRMTG Asset Trust astinson@raslg.com

John W Jennings, Jr.
                                 on behalf of Debtor Michael E Cross stacy@jenningsandmesser.com
                                 stacy@jenningsandmesser.com;jenningsjr44673@notify.bestcase.com

Linda Baker Gore
                                 noticetrustee@ch13gadsden.com noticetrustee@ch13gadsden.com


TOTAL: 3




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                              Imaged Certificate of Notice Page 2 of 3
Van−002 [Notice of Hearing] (Rev. 10/23)

                        UNITED STATES BANKRUPTCY COURT
                  NORTHERN DISTRICT OF ALABAMA, EASTERN DIVISION


In re:                                                                           Case No. 22−40440−JJR13
Michael E Cross                                                                  Chapter 13
SSN: xxx−xx−8881


          Debtor(s)

                                           NOTICE OF HEARING
       Notice is hereby given that a hearing will be held to consider and act upon the following:

       63 − Application for Compensation and Expenses for Cherisse H. A. Cleofe, Special Counsel, Period:
       8/15/2019 to 2/15/2024, Fee: $102,000.00, Expenses: $13,339.79. Filed by (Goreoffice, se)

       Date: Thursday, March 7, 2024                   Time: 10:15 AM

       Location: Room 307, Federal Courthouse, 1100 Gurnee Avenue, Anniston, AL 36201

              Attorneys should attend all scheduled hearings. If a conflict is known, the Court should be notified
immediately. Continuances of non−evidentiary hearings may be granted if all parties consent. Evidentiary hearings
will not be continued except for good cause shown. If there is a failure to attend a scheduled hearing, and the Court
has not been notified of the reason for the failure, the Court may enter appropriate orders. Attendance may not be
required for hearings on certain matters if a settlement has been reached as approved by all parties and announced to
the Court by an attorney prior to the hearing date.

Dated: February 15, 2024                                    By:

                                                            Joseph E. Bulgarella, Clerk
                                                            United States Bankruptcy Court
sog




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                          Imaged Certificate of Notice Page 3 of 3
